Case 2:10-md-02179-CJB-DPC Document 4073-2 Filed 09/20/11 Page 1 of 2

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISINAA

IN RE: OIL SPILL BY THE OIL RIG *  MDLNO. 2179
DEEPWATER HORIZON IN THE *
GULF OF MEXICO, ON APRIL 20, * CIVIL ACTION NO. 2:11-CV-778
2010 *

* JUDGE BARBIER
THIS DOCUMENT RELATES TO: *
2:11-CV-778 * SECTION J

x
JAMES PEARSON and * MAGISTRATE JUDGE SHUSHAN
THOMAS EDWARD BLACK. *

* MAG. DIV. 1
VERSUS +

*
DRC EMERGENCY SERVICES, LLC *
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NOTICE OF SUBMISSION

NOW COME PETITIONERS, James Pearson and Thomas Edward Black, through
undersigned counsel, and give notice hereby that Petitioners? Motion for Removal of a Non-
Collateral Matter is scheduled for submission before the Honorable Carl J. Barbier on the 12% day
of October, 2011, at 9:30 a.m., or soon thereafter, as counsel can be heard.

Respectfully submitted,

BOGGS, LOEHN & RODRIGUE

Krwase C

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Thomas Edward Black

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CERTIFICATE OF SERVICE
THEREBY CERTIFY that a copy of the above and foregoing pleading has been served upon

ali counsel of record via the Court’s CM/ECF system and by placing same in the United States mail,
properly addressed and postage prepaid to counsel for the defendant, this Q ct ®day of September,

2011.

-LATommy\MISCELLANEGUS Files 010\Pearson & Black v, DRC ( 0102010048)\Pleadings\NOTICE OF SUBMISSION 9-9-11-wpd

